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16
                          UNITED STATES DISTRICT COURT
17
                         CENTRAL DISTRICT OF CALIFORNIA
18
                                      WESTERN DIVISION
19
20                                             Case No. 2:22-cv-04355-JFW-JEM
      Yuga Labs, Inc.,
21
                                               Defendants’ Objections to Disputed
22                            Plaintiff,       Finding of Fact No. 1, lines 1:21-24
23
            v.                                 Judge: Hon. John F. Walter
24
      Ryder Ripps, Jeremy Cahen,
25
26                            Defendants.
27
28
     Case No. 2:22-cv-04355-JFW-JEM                        DEFENDANTS’ OBJECTIONS
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28   Case No. 2:22-cv-04355-JFW-JEM                     DEFENDANTS’ OBJECTIONS
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 1
           Pursuant to the Court’s Order Regarding the Parties Objections to Post Trial
 2
     Proposed Findings of Facts and Conclusion of Law (Dkt. 423) Defendant Ryder Ripps
 3
     and Defendant Jeremy Cahen respectfully submit the following objection, response,
 4
     and reply to Defendants’ objections to Yuga Labs, Inc.’s (“Yuga”) Post Trial
 5
     Proposed Findings of Facts and Conclusion of Law:
 6
                     Plaintiff’s Disputed Post Trial Finding of Fact No. 1, lines 1:21-24:
 7
           Yuga Labs owns and uses trademarks associated with its BAYC NFT
 8
     collection, including BORED APE YACHT CLUB, BAYC, BORED APE, the BA
 9
     YC Logo, the BA YC BORED APE YACHT CLUB Logo, and the Ape Skull Logo
10
     (collectively, the “BAYC Marks”). SJ Order at 6-10; Dkt. 342 ¶3.
11
                     Defendants’ Basis for Dispute:
12
           Defendants expressly reserve and reassert all objections made in the parties’
13
     Joint Statement Regarding Objections (Dkt. 420).
14
           Evidence at trial showed that Yuga does not own the marks BORED APE
15
     YACHT CLUB, BAYC, BORED APE, BA YC Logo, BA YC BORED APE YACHT
16
     CLUB Logo, and the Ape Skull Logo. Yuga gave away all intellectual property rights
17
     associated with the Bored Ape Yacht Club. Yuga’s CEO Nicole Muniz had publicly
18
     represented that BAYC NFT holders received all IP rights and that Yuga has none of
19
     those rights. Trial Tr. [Muniz] 72:3–73:17; Cahen Decl. ¶ 189 (Dkt 344); Hickman
20
     Decl. ¶¶ 25-26 (Dkt 345); JTX 2672; JTX 2673. 1 That transfer of rights was made, in
21
     part, pursuant to the BAYC Terms & Conditions, which Mr. Solano drafted with the
22
     intent to allow people to commercialize their NFTs. Trial Tr. [Solano] 25:1-4 (“Q.
23
     Your intent in writing the terms and conditions was to allow people to be able to
24
     commercialize their NFTs. We can agree on that; right? A. Yes. That is covered in
25
     the terms.”).
26
           As a result, at the time of the RR/BAYC project, there were more than 9,000
27
28   1
       Citations to paragraphs within witness declarations shall exclude content that is
     subject to objections sustained at trial. See Dkts. 392, 406.
      Case No. 2:22-cv-04355-JFW-JEM             -1-            DEFENDANTS’ OBJECTIONS
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 1   other third-party projects using Yuga’s marks. Ripps Decl. ¶¶ 187-191 (Dkt. 346)
 2   (uncontested); Hickman Decl. ¶ 33 (Dkt. 345); JTX 2243; JTX 2244. There were
 3   hundreds of NFT collections unaffiliated with Yuga that use the Bored Ape Yacht
 4   Club Brand on the NFT marketplace OpenSea. Trial Tr. [Muniz] 77:19-23; [Muniz]
 5   78:7-21; [Muniz] 80:3-13. And, as Yuga’s CEO admitted, there are “literally
 6   thousands” of products that use Yuga trademarks without sponsorship or affiliation
 7   with Yuga. Trial Tr. [Muniz] 81:18-22. For example, there are published notebooks
 8   with ISBN numbers, commemorative coins, alcohol products, skateboards, cereal
 9   brands, restaurants, and CBD/marijuana products that are unaffiliated with Yuga that
10   use Yuga’s trademarks. See, e.g., JTX-2398; JTX-2134; JTX-2410; JTX-2075.
11         Further, Yuga does not own the asserted marks because NFTs are not eligible
12   for trademark protection. The Supreme Court has held that trademarks are limited to
13   “tangible goods that are offered for sale, and not the author of any idea, concept, or
14   communication embodied in those goods.” Dastar Corp. v. Twentieth Century Fox
15   Film Corp., 539 U.S. 23, 37 (2003) . Misrepresentation of the origins of a
16   communicative work is a dispute relegated to the confines of copyright law, not
17   trademark. Id. at 33-35; see also Pulse Entm’t Corp. v. David, No. 2:14-cv-04732-
18   SVW-MRW, Dkt. 19 at 4 (C.D. Cal. Sept. 17, 2014) (Dastar bars trademark claims
19   based on origin of hologram, as it is “likened to a cartoon animation”). Here, the
20   “goods” for which Yuga claims trademark rights are NFTs, which are comparable to
21   certificates of authenticity/ownership and are not digital goods in themselves. Trial
22   Tr. [Atalay] 127:9-16.
23         Yuga also fails to identify adequate evidentiary support for its proposed finding.
24   First, Yuga incorrectly relies on the law of the case doctrine by citing to this Court’s
25   summary judgment order. The “law of the case doctrine does not apply to pretrial
26   rulings such as motions for summary judgment.” Shouse v. Ljunggren, 792 F.2d
27   902, 904 (9th Cir. 1986) (emphasis added); see also Peralta v. Dillard, 744 F.3d 1076,
28   1088 (9th Cir. 2014) (“Pretrial rulings, often based on incomplete information, don’t
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 1   bind district judges for the remainder of the case. Given the nature of such motions, it
 2   could not be otherwise.”). For example, in Sienze v Kutz, the Court held that although
 3   aspects of an issue were decided at summary judgment for one purpose, the summary
 4   judgment order did resolve the issue generally or as to other topics. See No. 1:17-CV-
 5   0736-AWI-SAB, 2019 WL 1332184 at *3 (E.D. Cal. Mar. 25, 2019) (holding that
 6   evidence of initial police contact was relevant as background, but not to an already
 7   decided issue that initial contact was not excessive force). This case is just like
 8   Sienze: the summary judgment ruling on Yuga’s ownership for the asserted marks
 9   applies to only the issue of infringement and is not adequate support for Yuga’s lack
10   of ownership as applied to availability of disgorgement as a remedy (including
11   Defendants’ mental state as applied to disgorgement), apportionment, and an
12   exceptional case analysis.
13         Second, Yuga relies on the Declaration of Greg Solano to argue that Yuga owns
14   the asserted marks. But Mr. Solano’s testimony was not credible given the many false
15   and misleading statements contained in his declaration, as well as his repeated
16   impeachment at trial. For example, Mr. Solano was also forced to concede on cross
17   examination that his sworn declaration included a false statement claiming that
18   “Defendants continue to receive royalties or creator fees from sales on secondary
19   marketplaces.” Trial Tr. [Solano] 48:15-49:4. Mr. Solano also relied on the phrase
20   “business venture” in Mr. Lehman’s declaration, without having considered that the
21   phrase “business venture” was selected by Yuga’s counsel, and that Mr. Lehman
22   would have liked to use different words. Trial Tr. [Solano] 40:3-14. Mr. Solano also
23   relied on Mr. Lehman’s declaration without having considered that Mr. Lehman knew
24   he could not settle his case without executing a declaration concerning matters of
25   Yuga’s choosing (Trial Tr. [Solano] 38:14-16) and that Mr. Lehman was afraid for his
26   family at the time he signed his declaration, because Yuga’s lawsuit against him
27   would be disastrous to his family and himself, even if Mr. Lehman won (Trial Tr.
28   [Solano] 38:17-19). Mr. Solano also lacks credibility as a result of his repeated
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 1   impeachment at trial. Solano Decl.; Trial Tr. [Solano] 32:19-33:11 (“Q You don’t
 2   even know, sir, whether Bored Ape V3 was created by Ryder Ripps or not, do you? A
 3   Yes, I do. Q Let’s see what you said at your deposition, if we could. You gave a
 4   deposition in this case; right? A Yes. Q And you swore an oath to tell the truth, same
 5   oath as today; right? A Yes. Q If we look at your deposition -- and we can pull it up
 6   on the screen -- at page 152, starting at line 13 ‘QUESTION: Was the Bored Ape V3
 7   created by Ryder Ripps?’ There’s an objection from your counsel. ‘ANSWER: I
 8   don’t know.’ Was that your testimony at your deposition? A Yes.” ); id. at 34:9-19
 9   (“[Q] Do you know whether Ape Market exists? A We have the code for Ape Market
10   from Tom Lehman, yes. Q Take a look at your deposition at page 116, lines 5 through
11   6. ‘QUESTION: Do you know whether Ape Market exists? ‘ANSWER: I don’t
12   recall.’ Were you asked that question, and did you give that answer? A Yes.”).
13                Plaintiff’s Response:
14         Given that “Defendants expressly reserve and reassert all objections made in its
15   Joint Statement Regarding Objections (Dkt. 420)”, Yuga Labs expressly reserves and
16   reasserts all of its responses to those objections as stated in Dkt. 420.
17         Defendants’ objection should be rejected because, as discussed infra, (1)
18   Defendants have stipulated to this fact (infra ¶ 3), (2) the objection seeks to relitigate
19   issues already adjudicated by the Court (infra ¶ 10), and (3) Defendants fail to
20   impeach Mr. Solano’s accurate testimony (infra ¶ 1 lines 1:24-2:1). Additionally,
21   Defendants’ objection should be rejected because (1) the record shows that Yuga Labs
22   in fact owns the BAYC Marks, (2) Yuga Labs did not grant Defendants a license to
23   infringe, and (3) other alleged infringers do not negate Defendants’ infringement.
24         Yuga Labs Owns The BAYC Marks: The Court has already decided that
25   Yuga Labs owns its BAYC Marks. See Order on Motion for Summary Judgment
26   (Dkt. 225) (“SJ Order”) at 6. “[A]n unregistered trademark can be enforced against
27   would-be infringers . . . .” Matal v. Tam, 582 U.S. 218, 225 (2017). “It is axiomatic
28   in trademark law that the standard test of ownership is priority of use.” Halicki Films
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 1   v. Sanderson Sales & Mktg., 547 F.3d 1213, 1226 (9th Cir. 2008). Yuga Labs started
 2   using the BAYC Marks long before Defendants began their infringement. Compare
 3   Dkt. 193-2 ¶¶4, 6 with ¶24. Since Yuga Labs’ first use in April 2021, the BAYC
 4   brand has been the cornerstone of its business. Id. ¶¶2, 8-14; see also Muniz Decl.
 5   (Dkt. 340) at ¶ 7 (“The BAYC brand is the tentpole brand for Yuga Labs. . . . Yuga
 6   Labs’ marketing of the BAYC brand includes, among other things, its operation of
 7   social media accounts, hosting community events, and its brand collaboration and
 8   high-profile partnerships”); Solano Decl. (Dkt. 342) at ¶ 16 (“Part of the reason Yuga
 9   Labs was able to reach such a large audience is due to significant effort, time and
10   money we spent promoting the BAYC brand.”). Indeed, Defendants admit that the
11   BAYC Marks identify Yuga Labs. Id. ¶70.
12         Yuga Labs Did Not Give Defendants A License To Infringe: To the extent
13   that Defendants seek to rehash their argument that the BAYC Terms gave BAYC NFT
14   holders any and all trademark rights, the Court already found on summary judgment
15   that the BAYC Marks are valid trademarks and that Yuga Labs granted BAYC
16   holders a valid copyright license, not a trademark license. SJ Order (Dkt. 225) at 9-10
17   (“Yuga has not granted BAYC NFT holders a trademark license.”). Defendants offer
18   no credible evidence to support their claim that the Court should reach a different
19   conclusion at trial. The BAYC Terms give BAYC NFT holders a copyright license to
20   use their respective Bored Ape image for personal or commercial use, not the marks
21   within the image. See Trial Tr. at 70:1-4, 70:18-23; Solano Decl. ¶ 25. Yuga Labs
22   explains this not just in the Terms, but in FAQs, and in Discord. Trial Tr. at 70:18-23.
23         Additionally, the Court has already held that NFTs are goods, as consumers
24   understand them, that are subject to trademark protection under the Lanham Act. SJ
25   Order (Dkt. 225) at 6-8; see also Hermès International v. Rothschild, 590 F. Supp. 3d
26   647, 655 (S.D.N.Y. 2022). Defendants offer no reason for the Court to reconsider or
27   vacate this portion of its prior ruling.
28
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Case 2:22-cv-04355-JFW-JEM Document 430-1 Filed 10/05/23 Page 8 of 12 Page ID
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 1         Other Alleged Infringers Do Not Negate Defendants’ Own Infringement:
 2   Defendants’ references to unknown, and alleged, third-party infringers, in an attempt
 3   to excuse their intentional infringement of Yuga Labs’ trademarks is unavailing. Any
 4   alleged third-party use of the BAYC Marks, or similar marks, is immaterial and
 5   irrelevant. As this Court has already found, “despite Defendants’ attempt to argue
 6   abandonment through third party use or failure to police, these arguments are
 7   unquestionably meritless.” Dkt. No. 225 at 10 (quoting San Diego Comic Convention
 8   v. Dan Farr Prods., No. 14-cv-1865, 2017 WL 4227000, *12 (S.D. Cal. Sept. 22,
 9   2017)). Indeed, the Ninth Circuit, and courts within the Ninth Circuit, have made
10   clear that third-party use of a mark is irrelevant in a suit against a particular infringer.
11   See, e.g., Eclipse Associates Ltd. v. Data General Corp., 894 F.2d 1114, 1119 (9th
12   Cir. 1990) (affirming district court’s exclusion of evidence of third-party use of
13   plaintiff’s mark because “[e]vidence of other unrelated potential infringers is
14   irrelevant to claims of trademark infringement and unfair competition under federal
15   law”); Electropix v. Liberty Livewire Corp., 178 F. Supp. 2d 1125, 1130 (C.D. Cal.
16   2001) (rejecting extensive third-party use of the allegedly infringed mark as irrelevant
17   and weak in any event); Elliott v. Google, Inc., 860 F.3d 1151, 1159, 1162 (9th Cir.
18   2017) (a “‘sheer quantity’ of irrelevant evidence,” which is “largely inapposite to the
19   relevant inquiry,” is meaningless); see also F.T.C. v. Neovi, Inc., No. 06-CV-1952,
20   2011 WL 1465590, at *3 (S.D. Cal. Apr. 18, 2011) (precluding Defendants from
21   “introducing into evidence . . . ‘thousands of third-party webpages’” because they
22   were irrelevant and thus inadmissible under FRE 401 and 402). Even so, Defendants
23   have failed to demonstrate actual use of these marks in commerce. See, e.g., Icon
24   Enters. Int’l, Inc. v. Am. Prod. Co., No. 04-cv-1240, 2004 WL 5644805, at *30 (C.D.
25   Cal. Oct. 7, 2004) (excluding evidence of third-party marks in an advertisement
26   because “evidence of third-party use is not admissible unless the proponent can
27   provide evidence that the trademarks were actually used by third parties, that they
28   were well promoted or that they were recognized by consumers.”) (cleaned up)
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 1   (emphasis added); BuzzBallz, LLC v. Buzzbox Beverages, Inc., No. ED14CV01725,
 2   2016 WL 7496769, at *3 (excluding evidence of third-party marks because defendants
 3   “presented no evidence showing actual use.”) (emphasis added).
 4         Even if third party infringement were material or relevant (it is not), none of
 5   these “projects” caused as much confusion in the marketplace as Defendants’ sale of
 6   RR/BAYC NFTs. Solano Decl. (Dkt. 342) ¶ 60; Trial Tr. at 61:12-23 (“We’ve never
 7   had someone that we’ve done a takedown for, then respond and say, oh, here it is on
 8   some other website. Come get it here. And also, by the way, we are going to rip off
 9   Yuga’s other site next. And we’re going – you know, I’ve made a million dollars with
10   this scam, and no one can stop me. We’ve never had another collection get shown up
11   on Bloomberg News with people confused thinking it’s us. I’ve never had phone calls
12   from–you know, concerned – with my CEO telling me that she’s getting calls from
13   investors that are saying you need to do something about this. So, yes, this is
14   especially egregious.”); see also Trial Tr. 96:19-97:8. Moreover, Yuga Labs took
15   significant steps to protect the BAYC brand and take down infringing content. See
16   Muniz Decl. (Dkt. 340) ¶ 8, 19; Trial Tr. at 60:21-23 (“We’ve done takedowns of an
17   enormous amount of infringing collections. I think we spent something like $600,000
18   a year doing this.”), 82:1-3 (“So, you know, we have a pretty robust process for
19   takedowns. And we spend, at least in my tenure as CEO, a million dollars a year
20   doing it.”); see also SJ Order (Dkt. 225) at 10 (“Indeed, the filing of this action is
21   strong evidence that Yuga enforces its trademark rights in the BAYC Marks against
22   infringing third-party users.”).
23                Defendants’ Reply
24         Defendants expressly reserve and reassert all replies made in the parties’ Joint
25   Statement Regarding Objections (Dkt. 420).
26        Defendants reiterate all points made in their objection. To the extent Yuga is
27   relying on a Law of the Case argument, it cannot because it does not apply to
28   Summary Judgment or issues decided for only one purpose. Shouse v. Ljunggren, 792
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 1   F.2d 902, 904 (9th Cir. 1986); Peralta v. Dillard, 744 F.3d 1076, 1088 (9th Cir.
 2   2014); Sienze v Kutz, No. 1:17-CV-0736-AWI-SAB, 2019 WL 1332184 at *3 (E.D.
 3   Cal. Mar. 25, 2019). Defendants have never stipulated to Yuga’s Ownership of the
 4   BAYC Marks. To the extent it is necessary, Defendants bring this objection to
 5   preserve for appeal. Yuga also does not address Defendants’ objection
 6         The evidence at trial shows Yuga does not own the BAYC marks because Yuga
 7   has either given away its rights in the marks and NFTs are not eligible for trademark
 8   protection. Yuga’s CEO Nicole Muniz publicly represented that BAYC NFT holders
 9   received all IP rights and that Yuga has none of those rights. Trial Tr. [Muniz] 72:3–
10   73:17; Cahen Decl. ¶ 189 (Dkt 344); Hickman Decl. ¶¶ 25-26 (Dkt 345); JTX 2672;
11   JTX 2673. That transfer of rights was made, through the BAYC Terms & Conditions,
12   which were drafted with the intent to allow people to commercialize their NFTs. Trial
13   Tr. [Solano] 25:1-4.
14         At the time of the RR/BAYC project, there were more than 9,000 other third-
15   party projects using Yuga’s marks. Ripps Decl. ¶¶ 187-191 (Dkt. 346) (uncontested);
16   Hickman Decl. ¶ 33 (Dkt. 345); JTX 2243; JTX 2244. There were hundreds of NFT
17   collections unaffiliated with Yuga that use the Bored Ape Yacht Club Brand on the
18   NFT marketplace OpenSea. Trial Tr. [Muniz] 77:19-23; 78:7-21; 80:3-13. Yuga’s
19   CEO admitted, there are “literally thousands” of products that use Yuga trademarks
20   without sponsorship or affiliation with Yuga. Id. at 81:18-22; JTX-2398; JTX-2134;
21   JTX-2410; JTX-2075.
22         Yuga does not own the asserted marks because NFTs are ineligible for
23   trademark protection because they are intangible non-goods. Dastar Corp. v.
24   Twentieth Century Fox Film Corp., 539 U.S. 23, 37 (2003) ;Pulse Entm’t Corp. v.
25   David, No. 2:14-cv-04732-SVW-MRW, Dkt. 19 at 4 (C.D. Cal. Sept. 17, 2014).
26   Whether Yuga had first use does not impact its surrender of IP or inability to get
27   trademark protection for NFTs.
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                                 #:35060



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     Case No. 2:22-cv-04355-JFW-JEM      -9-             DEFENDANTS’ OBJECTIONS
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 1                  ATTESTATION OF CONCURRENCE IN FILING
 2         Pursuant to the United States District Court for the Central District of
 3   California’s Civil L.R. 5-4.3.4(a)(2)(i), Louis W. Tompros attests that concurrence in
 4   the filing of this document has been obtained from Eric Ball.
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